                    IN THE DISTRICT COURT OF THE UNITED STATES
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                                      3:04cr250


UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                                 ORDER
                                         )
RAYMOND SURRATT                          )
________________________________________ )


       THIS MATTER is before the Court upon motion of the defendant pro se for a reduction

of sentence based on the retroactive amendments to the United States Sentencing Guidelines

relating to crack cocaine.1 (Doc. No. 565).

       On October 18, 2004, the defendant was indicted for conspiracy to possess with intent to

distribute five kilograms or more of cocaine and fifty grams or more of cocaine base in violation

of 21 U.S.C. §§ 841 and 846 (Count One) and three counts of possession with intent to distribute

at least five grams but less than 50 grams of cocaine base in violation of 21 U.S.C. § 841 (Counts

Forty, Forty-One and Forty-Two ). (Doc. No. 104). The Government then filed an information

detailing the defendant’s three prior felony drug convictions, pursuant to 21 U.S.C. § 851. (Doc.

No. 192). On February 4, 2005, the defendant filed a Plea Agreement in which he agreed to plead

guilty to Count One and acknowledged that the mandatory sentence was life imprisonment.

(Doc. No. 201 at 1). Accordingly, the Court sentenced him to life imprisonment.2 (Doc. No. 325:

Judgment).


       1
          This claim was raised in a Motion to Vacate pursuant to 28 U.S.C. § 2255 but docketed
as a separate motion. The defendant sought the Court’s jurisdiction for this claim under 18
U.S.C. § 3582. (Doc. No. 565: Motion at ¶ 88).
       2
           That sentence was affirmed by the Fourth Circuit. (Doc. No. 531: Opinion).


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       This sentence resulted from a statutory penalty, 21 U.S.C. §§ 841(b)(1)(A)(ii)(II), (iii),

846, and 851; thus, the change in the guidelines does not affect the defendant’s sentence. Neal v.

United States, 516 U.S. 284, 296 (1996) (retroactive amendment to guidelines does not alter

statutory mandatory minimum); United States v. Hood, 556 F.3d 226, 233 (4th Cir. 2009).

       IT IS, THEREFORE, ORDERED that the defendant’s motion is DENIED.

       The Clerk is directed to certify copies of this order to the defendant, the Community

Defender, the United States Attorney, the United States Marshals Service, and the United States

Probation Office.

                                                  Signed: February 24, 2011




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